            Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 1 of 12



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

REINALDO LOZANO,                               )
                                               )
      Plaintiff,                               )
                                               )
               v.                              )      Case No. CIV-18-081-F
                                               )
PAN-AMERICAN LIFE INSURANCE                    )
COMPANY and                                    )
WEBTPA EMPLOYER SERVICES, LLC,                 )
                                               )
      Defendants.                              )


                        AMENDED COMPLAINT
                                       	
      COMES NOW the Plaintiff, Reinaldo Lozano, and for his causes of action against

Defendant Pan-American Life Insurance Company and Defendant WebTPA Employer

Services, LLC (“WebTPA”), alleges and states as follows:

                           I. JURISDICTION AND VENUE

       1.      Plaintiff Reinaldo Lozano (“Lozano”) is a resident of El Reno, Canadian

County, State of Oklahoma.

       2.      Defendant Pan-American Life Insurance Company (“PALIC”) is a foreign

insurance company domiciled in Louisiana and licensed to and engaged in the business of

insurance in the State of Oklahoma, including Canadian County.

       3.      Defendant WebTPA is a foreign company domiciled in Texas and engaged

in the business of healthcare benefits administration in the State of Oklahoma, including

Canadian County.
             Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 2 of 12



        4.      The events which give rise to this lawsuit occurred in El Reno, Canadian

County, Oklahoma.

        5.      The District Court in and for Canadian County has jurisdiction over the

parties 12 O.S. §§ 137 and 187.

                                            FACTS

        6.      Plaintiff hereby adopts and alleges each of the facts and allegations set forth

in paragraphs 1-5 above.

        7.      PALIC issued a group short term medical expense policy to Plaintiff,

Policy No. PAL-STM-2008-REG1, effective May 30, 2013 (“the Policy”).

        8.      While the Policy was in force and Plaintiff was entitled to benefits, Plaintiff

fell from a roof and suffered injuries that required medical treatment. Plaintiff’s injuries

ultimately required surgery to his neck, which was performed on September 26, 2013.

        9.      Upon information and belief, Plaintiff obtained life insurance coverage

from PALIC.2 In fact, Plaintiff never personally made any medical expense claims under

the Policy and only became aware that his health care providers had made medical

expense claims on his behalf after PALIC produced Plaintiff’s claim file on March 7,

2016, pursuant to a subpoena issued in Lozano v. Golden Rule, Case No. 15-cv-01230-F,

United States District Court for the Western District of Oklahoma.

        10.     WebTPA administers and processes claims for health benefits on behalf of

PALIC. WebTPA is responsible for making all claims decisions, including whether

																																																								
1
   Plaintiff completed the application over the phone.
2	Plaintiff is a native Spanish speaker with a minimal understanding of English.



	                                               2
           Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 3 of 12



benefits will be paid or denied on claims submitted under PALIC policies such as

Plaintiff’s. Most, if not all of the documents produced pursuant to the subpoena issued in

Lozano v. Golden Rule, Case No. 15-cv-01230-F, United States District Court for the

Western District of Oklahoma, were from WebTPA, many of which do not indicate any

identifying information for PALIC.

        11.    After review of the claim file, Plaintiff’s counsel discovered that Dr. Robert

Tibbs had submitted several claims throughout the spring of 2014 on Plaintiff’s behalf for

medical treatment and services provided in August through October of 2013 totaling

$45,194.25. Upon further review of the claim file, Plaintiff’s counsel discovered a May

8, 2014 Explanation of Benefits (“EOB”) that was purportedly sent to Plaintiff 3 with

ambiguously coded information at the bottom of the EOB that states such services and

treatment were not covered due to a pre-existing condition specified in the certificate

language. The claim file not only lacks explanation of what medical condition pre-

existed the Policy, it lacks any indication of what investigation PALIC and/or WebTPA

undertook in order to reach the conclusion that Dr. Tibbs provided medical treatment for

conditions that pre-existed the issuance of the Policy.

        12.    The claim file further indicates that, in the middle of August 2014,

Oklahoma Spine Hospital submitted claims for payment related to medical treatment and

services provided to Plaintiff between September 26, 2013 and September 30, 2013

totaling $58,955.00. The claim file further shows that, in response to those claims, on

																																																								
3	Plaintiff has no recollection of receiving or ever seeing any Explanation of Benefits letters from

PALIC.


	                                                3
          Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 4 of 12



August 19, 2014, either WebTPA or PALIC purportedly sent a Member Medical History

Questionnaire to Plaintiff 4 and a Member History Questionnaire to Physician to

Oklahoma Spine Hospital. The Questionnaires focus on the question of whether

Oklahoma Spine Hospital had previously treated Plaintiff or had knowledge of whether

Plaintiff had seen any other doctor or was hospitalized during the “pre-existing” period of

May 29, 2008 to May 29, 2013. The claim file does not indicate what medical condition

PALIC and/or WebTPA was investigating as to whether it was pre-existing.

       13.    The claim file also contains a copy of an EOB, also purportedly sent on

August 19, 2014 to Oklahoma Spine Hospital for medical services from September 25,

2013 to September 30, 2013, explaining that an investigation was ongoing regarding a

possible pre-existing condition and a Pre-Existing Condition form had been sent to the

provider (Oklahoma Spine Hospital) and member (Plaintiff). The EOB does not indicate

what medical condition PALIC and/or WebTPA was investigating as to whether it pre-

existed the issuance of the Policy. However, the EOB does indicate that the Policy was

terminated on September 29, 2013 and any medical treatment and services after the date

of termination were not covered. There is no documentation in the claim file to indicate

PALIC and/or WebTPA ever advised Plaintiff of the September 29, 2013 termination of

his Policy.   Moreover, Plaintiff has no memory of having ever received written

notification from PALIC and/or WebTPA regarding the purported September 29, 2013

termination of the Policy.

																																																								
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   PALIC requested whether Plaintiff had been treated from May 29, 2008 to May 29, 2013.
Plaintiff did not respond and has no recollection of ever seeing the letter.


	                                           4
          Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 5 of 12



        14.    The claim file indicates that, a week later, on August 26, 2014, Oklahoma

Spine Hospital responded to the Member History Questionnaire to Physician, verifying

that it had not previously treated Plaintiff. That same day, PALIC and/or WebTPA

purportedly mailed another EOB to Plaintiff and Oklahoma Spine Hospital, explaining

that it was investigating the issue of whether a pre-existing condition existed and that,

until further information was received, it was denying the claim submitted by Oklahoma

Spine Hospital due to the “pre-existing condition” provision of the Policy5. Nothing in

the claim file indicates what medical condition PALIC and/or WebTPA was investigating

as possibly pre-existing the issuance of the Policy, nor what purported “pre-existing

condition” merited the denial of the claim for benefits.

        15.    Two weeks later, on September 9, 2014, an EOB was purportedly sent to

Plaintiff indicating a claim submitted by Oklahoma Spine Hospital was denied due to a

pre-existing condition. Moreover, despite the denial, the EOB contains language that

states if after review PALIC and/or WebTPA find that there is a pre-existing condition

then the EOB would serve as a final denial. However, the EOB also states that if there is

not a pre-existing condition then it would be reopened. Neither plaintiff nor his medical

providers have ever been notified concerning the outcome of any review of the alleged

“pre-existing condition” from PALIC’s and/or WebTPA’s investigation.                   The pre-

existing condition supposedly supporting the denial is not indicated anywhere on the

EOB.
																																																								
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   Oklahoma statutes require that letters of denial of insurance benefits specifically set for the
policy provision upon which a denial is based. 36 O.S. 1250.7(A). There were no specific Policy
provisions cited in the EOB.


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          Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 6 of 12



        16.   The claim file contains no explanation regarding what medical condition

pre-existed the date of the application for coverage nor any medical records regarding

any supposed pre-existing condition. The claim file documentation also contains no

explanation indicating why claims submitted by Dr. Robert Tibbs and Oklahoma Spine

Hospital were unpaid other than the afore-mentioned EOBs. Instead, the claim file

contains the Member History Questionnaire indicating Oklahoma Spine Hospital had

never treated Plaintiff for any condition during the “pre-existing” time period.

    COUNT ONE – PALIC’S BREACH OF THE DUTY OF GOOD FAITH AND
                           FAIR DEALING

        17.   Plaintiff hereby adopts and realleges each of the facts and allegations set

forth in paragraphs 1-16 above.

        18.   As an insurance company licensed to do business in the State of Oklahoma,

PALIC is bound by Oklahoma statutory and common law to honor its contractual

obligations to its insureds in good faith. As such, PALIC has and continues to have a

duty to deal fairly and in good faith with Plaintiff, its insured. Moreover, the duty to deal

fairly and in good faith is non-delegable and an insurer cannot delegate its obligations to

third-party administrators.

        19.   PALIC breached its duty to deal fairly and in good faith with Plaintiff

because PALIC (or an agent and/or representative on its behalf) must conduct a full, fair

and timely investigation and properly evaluate and promptly pay benefits to Plaintiff

under the Policy. PALIC recklessly, intentionally and in bad faith chose not to fairly and

properly investigate Plaintiff’s claims and instead concocted a sham defense of a “pre-



	                                            6
             Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 7 of 12



existing condition” in order to delay and effectually deny properly owed benefits to

Plaintiff.

        20.     PALIC breached its duty to deal fairly and in good faith with Plaintiff

because PALIC put its own interests ahead of Plaintiff by concocting a “pre-existing

condition” defense to justify a refusal to pay properly owed benefits under the policy in

an attempt to save PALIC money.

        21.     Upon information and belief, PALIC breached its duty to deal fairly and in

good faith with Plaintiff because PALIC has a claims handling system or a standardized

claims process where claims are denied as a matter of course as soon as claims are

submitted. The claims handling system or standardized claims process is intended to

deny properly owed benefits by characterizing claims as “uncovered” without first

conducting a proper investigation and having a reasonable basis to deny a claim as was

the case with Plaintiff’s submitted claims. PALIC then will only issue payment of

benefits if the insured and/or medical providers dispute the denial and provide evidence

to support payment that PALIC should have discovered with an appropriate and fair

investigation under the circumstances.

        22.     PALIC breached its duty to deal fairly and in good faith with Plaintiff

because it has intentionally designed a claims handling system where it does not

supervise or take responsibility for claims-handling decisions of a third party

administrator. PALIC has attempted to delegate its responsibility to Plaintiff to a de facto

insurer, WebTPA; in doing so, PALIC has intentionally violated the contractual and good

faith obligations owed to Plaintiff under the Policy.


	                                            7
          Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 8 of 12



        23.   PALIC breach its duty to deal fairly and in good faith with Plaintiff by

setting up and implementing a claims handling system that denies claims upon receipt

without a full and fair investigation.

        24.   As a result PALIC’s breach of its duty to deal fairly and in good faith,

Plaintiff suffered damages in excess of the amount required for diversity jurisdiction

pursuant to 28 U.S.C. § 1332, with interest, costs, a reasonable attorney fee, and such

other relief as may be just and equitable.

        25.   PALIC’s breach of the duty of good faith and fair dealing was intentional

and malicious.

        26.   Punitive damages should be awarded against PALIC in an amount

sufficient to punish PALIC and deter others.

    COUNT TWO – WEBTPA’S BREACH OF THE DUTY OF GOOD FAITH AND
                          FAIR DEALING

        27.   Plaintiff hereby adopts and realleges each of the facts and allegations set

forth in paragraphs 1-26 above.

        28.   WebTPA is a third party administrator that acts on behalf of PALIC to

process claims for health benefits, investigate whether claims are payable, and has

primary control over benefit determinations for PALIC’s insureds. Thus, WebTPA has

assumed all of the obligations and risks of an insurer with regard to claims submitted by

PALIC’s insureds.




	                                              8
            Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 9 of 12



       29.     Upon information and belief, WebTPA’s compensation from PALIC is

contingent on the number of claims approved, denied, or the amount of benefits paid

under PALIC policies and/or WebTPA bears some of the financial risk of loss for claims.

       30.     WebTPA is sufficiently acting like a de facto insurer regarding claims

submitted by PALIC’s insureds such that there is a ‘special relationship’ between

WebTPA and insureds; thus, giving rise to a duty of good faith and fair dealing owed to

insureds.

       31.     WebTPA breached its duty to deal fairly and in good faith owed to Plaintiff

by designing and implementing a claims processing system where PALIC’s insureds’

claims are denied as a matter of course as soon as claims are submitted and administered

by WebTPA. The claims processing system is intended to deny properly owed benefits

by characterizing claims as “uncovered” without first conducting a proper investigation

and having a reasonable basis to deny a claim as was the case with Plaintiff’s submitted

claims. WebTPA then would only approve payment of benefits to PALIC if the insured

and/or medical providers dispute the denial and provide evidence to support payment that

WebTPA should have discovered with an appropriate and fair investigation under the

circumstances.

       32.     WebTPA breached its duty to deal fairly and in good faith owed to Plaintiff

by recklessly and intentionally choosing not to fairly and properly investigate Plaintiff’s

claims and instead rely on a sham defense of a “pre-existing condition” in order to delay

and effectually deny properly owed benefits to Plaintiff.




	                                            9
         Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 10 of 12



        33.   WebTPA breached its duty to deal fairly and in good faith with Plaintiff

because WebTPA put its own interests ahead of Plaintiff by concocting a “pre-existing

condition” defense to justify a refusal to pay properly owed benefits under the Policy

issued by PALIC in order to maximize compensation and minimize financial loss of

WebTPA.

        34.   As a result WebTPA’s breach of its duty to deal fairly and in good faith,

Plaintiff suffered damages in excess of the amount required for diversity jurisdiction

pursuant to 28 U.S.C. § 1332, with interest, costs, a reasonable attorney fee, and such

other relief as may be just and equitable.

        35.   WebTPA’s breach of the duty of good faith and fair dealing was intentional

and malicious.

        36.   Punitive damages should be awarded against WebTPA in an amount

sufficient to punish WebTPA and deter others.

        WHEREFORE, Plaintiff Reinaldo Lozano prays for judgment against Defendant

Pan-American Life Insurance Company and Defendant WEB-TPA Employer Services,

LLC. for an amount in excess of the amount required for diversity jurisdiction pursuant to

28 U.S.C. § 1332, together with costs, interest, reasonable attorney fees, and other relief

which this Court deems just and equitable.




	                                            10
     Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 11 of 12



                                Respectfully submitted,


                                /s/Andrea R. Rust
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                                ATTORNEYS FOR PLAINTIFF

ATTORNEYS’ LIEN CLAIMED
JURY TRIAL DEMANDED




	                                 11
         Case 5:18-cv-00081-F Document 18 Filed 05/02/18 Page 12 of 12



                             CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of May, 2018, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the following ECF registrants:

       Mark D. Spencer
       McAfee & Taft A Professional Corporation
       Tenth Floor, Two Leadership Square
       211 North Robinson
       Oklahoma City, OK 73102-7103
       mark.spencer@mcafeetaft.com

       I further certify that on this 2nd day of May, 2018, I mailed and emailed the
attached document to:

       Shawna Landeros
       HOLDEN & MONTEJANO
       Oklahoma Tower
       210 Park Avenue, Suite 1140
       Oklahoma City, OK 73102
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                                          /s/Andrea R. Rust




	                                           12
